    Case 8:19-cv-01257-JFW-PJW Document 47 Filed 09/25/19 Page 1 of 1 Page ID #:317

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA


 Bryce Abbink                                        CASE NUMBER:

                                     Plaintiff(s)
                        v.
                                                           SA CV 19-1257-JFW(PJWx)

 Experian Infomation Solutions, Inc., et al.         ORDER VACATING SCHEDULING CONFERENCE,
                                                     REFERRAL TO PRIVATE MEDIATION, and
                                                     DISMISSING ANY UNSERVED DOE DEFENDANTS
                                     Defendant(s).


The Court has reviewed the parties' Joint Rule 26(f) Report and finds that a Scheduling
Conference is not necessary. The hearing on October 7, 2019 is vacated and taken off calendar.
A Scheduling and Case Management Order will issue. Any unserved DOE defendants are
dismissed at this time.

The Court, having considered the parties’ Request: ADR Procedure Selection, the Notice to
Parties of Court-Directed ADR Program, or the report submitted by the parties pursuant to Fed.
R. Civ. P. 26(f) and Civil L.R. 26-1, hereby:

   ORDERS this case referred to:

   G ADR PROCEDURE NO. 1: (G district judge or G magistrate judge assigned to the case for
       such settlement proceedings as the judge may conduct or direct).

   G ADR PROCEDURE NO. 2: This case is referred to the ADR Program. Within twenty-
       one (21) days, plaintiff shall obtain the consent of a neutral listed on the Court’s
       Mediation Panel who will conduct the mediation, and file form ADR-2, Stipulation
       Regarding Selection of Panel Mediator. If the parties have not selected and obtained the
       consent of a Panel Mediator within twenty-one (21) days, the ADR Program (213-894-
       2993) will assign one. Forms and a list of the Panel Mediators are available on the Court
       website, www.cacd.uscourts.gov. Absent extraordinary circumstances, parties cannot
       request a continuance within three (3) business days of a scheduled mediation.

   :   ADR PROCEDURE NO. 3: (Private mediation).

   The ADR proceeding is to be completed no later than: February 3, 2020
   The Joint Report re: Results of Settlement Conference due on: February 7, 2020

 For ADR Procedure Nos. 1 and 3, counsel are responsible for contacting the judge or private mediator
at the appropriate time to arrange for further proceedings.

Dated: September 25, 2019
                                                          ___________________________
                                                          United States District Judge
